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                                   UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS




JENNIFER VANDERSTOK, et al.                             §
            Plaintiff                                   §
                                                        §
                                                        §
                      v.                                §     Case No. 4:22-cv-00691-O
MERRICK GARLAND, in his official capacity               §
                                                        §
as Attorney General of the United States, et al.
                                                        §
                   Defendant                            §


                           APPLICATION FOR ADMISSION PRO HAC VICE
                            (Complete all questions; indicate “N/A” if necessary.)

I.        Applicant is an attorney and a member of the law firm of (or practices under the name of)

Cooley LLP                                                                                    , with offices at

1299 Pennsylvania Avenue, NW, Suite 700
(Street Address)

Washington                                                    DC                     20004
(City)                                                       (State)                 (Zip Code)

 (202) 842-7800                                               (202) 842-7899
(Telephone No.)                                               (Fax No.)




II.       Applicant will sign all filings with the name Matt K. Nguyen                                        .


III.      Applicant has been retained personally or as a member of the above-named firm by:
                                          (List All Parties Represented)

Brady United Against Gun Violence
Everytown for Gun Safety Action Fund
March for Our Lives


to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
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IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                District of Columbia                 , where Applicant regularly practices law.       _______________


                    1736777
Bar license number:_______________                          August 10, 2021
                                            Admission date:____________________________

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

California                                December 6, 2019                           Active




VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:

N/A




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:

N/A




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):

N/A
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            IX.       Applicant has filed for pro hac vice admission in the United States District Court for the
            Northern District of Texas during the past three (3) years in the following matters:

            Date of Application:                    Case No. And Style:

            N/A                                     N/A




                                             (If necessary, attach statement of additional applications.)


            X.        Local counsel of record associated with Applicant in this matter is

            N/A                                                                                                       , who has offices at


            (Street Address)



            (City)                                                               (State)                        (Zip Code)



            (Telephone No.)                                                       (Facsimile No.)



            XI.       Check the appropriate box below.
                      For Application in a Civil Case

                       ✔        Applicant has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121
                                F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
                                comply with the standards of practice adopted in Dondi and with the local civil rules.
                      For Application in a Criminal Case
                                Applicant has read and will comply with the local criminal rules of this court.


            XII.      Applicant respectfully requests to be admitted to practice in the United States District Court for
            the Northern District of Texas for this cause only. Applicant certifies that a true and correct copy of this
            document has been served upon each attorney of record and the original upon the clerk of court,
            accompanied by a $100 filing fee, on this the                       day of August                                 , 2022         .



                                                                                  Matt K, Nguyen
                                                                                  Printed Name of Applicant


                                                                                  Signature
If the applicant files this document through the applicant’s electronic-filing account, the applicant’s typed name on the signature block constitutes the
applicant’s signature. If the applicant does not file this document through the applicant’s electronic-filing account, the applicant must sign on the
signature line.
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         On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                         the District of Columbia Bar does hereby certify that



                                Matthew Nguyen
       was duly qualified and admitted on August 10, 2021 as an attorney and counselor entitled to
        practice before this Court; and is, on the date indicated below, an Active member in good
                                            standing of this Bar.




                                                                              In Testimony Whereof,
                                                                          I have hereunto subscribed my
                                                                         name and affixed the seal of this
                                                                                Court at the City of
                                                                       Washington, D.C., on August 29, 2022.




                                                                              JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                          Issued By:


                                                                           David Chu - Director, Membership
                                                                          District of Columbia Bar Membership




  For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                      memberservices@dcbar.org.
